           CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 United States of America,
                                                   Case No. 0:20-cr-76 (PAM/KMM)
                Plaintiff,
                                                                ORDER
 v.

 Muhammad Masood,

                Defendant.


         On September 16, 2020, this Court granted Muhammad Masood’s Motion for a

Competency Evaluation pursuant to 18 U.S.C. § 4241 and Fed. R. Crim. P. 12.2(c)(1)(A).

[ECF No. 33, 36]. Following that evaluation, a Bureau of Prisons (BOP) forensic

psychologist determined that Mr. Masood is not competent to proceed in this matter.

[ECF No. 41]. The Court held a hearing pursuant to § 4241(c). [Minutes, ECF No. 45].

Neither the government nor Mr. Masood objected to the report, or to a finding that Mr.

Masood is not competent, as contemplated by § 4241(d).

      Following review of the evaluation prepared by the BOP, and based on the complete

record before the Court, including the filings of Mr. Masood’s counsel, the Court found

that Mr. Masood is not competent to proceed at this time because he is “unable to

understand the nature and consequences of the proceedings against him or to assist

properly in his defense.” 18 U.S.C. § 4241(d). The Court therefore Ordered him

committed to the custody of the Attorney General pursuant to § 4241(d) for treatment and

further evaluation so that he might be restored to competence. In response to Mr.


                                             1
         CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 2 of 6




Masood’s formal notice of an intent to rely on a defense of insanity [ECF No. 44], the

Court also granted the government’s motion, pursuant to 18 U.S.C. § 4242, for a

psychological or psychiatric examination of Mr. Masood. The Court fully stated its

findings and rationale on the record following the hearing and issues this Order to capture

the summary.

   I.      Background

        On September 11, 2020, Mr. Masood, through his attorney, Jordan Kushner, filed

a motion seeking a competency hearing to determine whether he is competent to stand

trial. [ECF No. 33]. Mr. Kushner was concerned that Mr. Masood “might be suffering

from mental illness which renders him incompetent to understand the nature and

consequences of the proceedings or assist properly in his defense.” [Mot., ECF No. 33].

The government did not oppose the motion. The Court found that there was reasonable

cause to believe that Mr. Masood “may presently be suffering from a mental disease or

defect rendering him mentally incompetent,” and issued an order pursuant to § 4241(a)–

(b), committing Mr. Masood to the custody of the Attorney General for a competency

evaluation under 18 U.S.C. § 4247(b). [ECF No. 36].

        On October 9, 2020, Mr. Masood was taken to the Metropolitan Correctional

Center (MCC) in Chicago, Illinois, for evaluation. [Report 2, ECF No. 41]. On March 17,

2021, MCC-Chicago Forensic Psychologist Dr. Robin Watkins completed a forensic

evaluation of Mr. Masood, and her report was filed with the Court on March 26, 2021.

[Id.] Throughout the evaluation period, Dr. Watkins interviewed and assessed Mr.


                                            2
         CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 3 of 6




Masood multiple times, and he was routinely observed by staff on his housing unit. [Id. at

3]. As part of the evaluation, Mr. Masood underwent a routine physical examination and

medical history. [Id.] Dr. Watkins also reviewed various records and documents,

including documents previously filed in this case, as well as BOP security, medical, and

psychological records. [Id.] Finally, Dr. Watkins also contacted counsel for Mr. Masood

and the government, as well as Mr. Masood’s brother. [Id.]

       Dr. Watkins reported that Mr. Masood “demonstrated awareness of the adversarial

nature of court proceedings” and “understood basic court procedures,” but that “his

thought disturbance appeared to interfere with his ability to articulate this understanding

and his ability to apply the concepts relevantly to his case.” [Id. at 16]. She observed that

Mr. Masood’s “symptoms impact his current capacity to display a rational understanding

of legal procedures,” and that “his capacity to cooperate with counsel also appears

limited.” [Id.] Dr. Watkins concluded that, in her opinion, “Mr. Masood presently meets

criteria for mental diseases, Other Specified Schizophrenia Spectrum and Other Psychotic

Disorder, and Other Specified Depressive Disorder,” that these “impair his ability to

understand the nature and consequences of the proceedings against him[] and to assist

properly in his defense,” and that, therefore, Mr. Masood is not competent to proceed at

this time. [Id.]

       Upon receipt of Dr. Watkins’ report, the Court set a competency hearing for April

9, 2021. On April 6, 2021, Mr. Masood, through his counsel, filed notice of his intent to

assert a defense of insanity to the underlying charges in this matter pursuant to Fed. R.

Crim. P. 12.2. [ECF No. 44].

                                              3
          CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 4 of 6




         At the hearing, the Court admitted Dr. Watkins’ report, and no other evidence was

submitted. The government did not object to Dr. Watkins’ findings or conclusions, and

while Mr. Kushner advised the Court that Mr. Masood objected to some factual

assertions in the report, he did not object to the conclusions. With respect to Mr.

Masood’s notice of intent to assert a defense of insanity, the government orally moved

for a mental examination pursuant to 18 U.S.C. § 4242.

   II.      Discussion

             If, after the hearing, the court finds by a preponderance of the evidence
         that the defendant is presently suffering from a mental disease or defect
         rendering him mentally incompetent to the extent that he is unable to
         understand the nature and consequences of the proceedings against him or to
         assist properly in his defense, the court shall commit the defendant to the
         custody of the Attorney General.

18 U.S.C. § 4241(d). In making the factual finding of incompetency, “the district court

may consider various factors, including expert medical opinions and its own observations

of the defendant during the proceedings.” United States v. Ghane, 593 F.3d 775, 779 (8th

Cir. 2010). “There are two elements to a competency finding: (1) whether the defendant

has a rational as well as factual understanding of the proceedings against him, and (2)

whether the defendant is able to consult with his lawyer within a reasonable degree of

rational understanding.” Id. at 780 (quotation omitted).

         Having considered the unrebutted report from Dr. Watkins, Mr. Kushner’s filings

and observations, and the Court’s own observations of Mr. Masood during these

proceedings, the Court finds by a preponderance of the evidence that Mr. Masood is, at

this time, suffering from a mental disease or defect that renders him mentally

                                              4
         CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 5 of 6




incompetent under § 4241(d). Dr. Watkins’ report is detailed, thorough, and applies the

correct legal standard to arrive at a well-supported conclusion. And neither side has

offered any contrary evidence or argument to support a different conclusion.

       Having found Mr. Masood not competent to proceed at this time, the statutory

requirements are clear. The Court must commit Mr. Masood to the custody of the

Attorney General, who “shall hospitalize the defendant for treatment in a suitable facility

for such a reasonable period of time, not to exceed four months, as is necessary to

determine whether there is substantial probability that in the foreseeable future he will

attain the capacity to permit the proceedings to go forward.” 18 U.S.C. § 4241(d). With

respect to Mr. Masood’s defense of insanity and the government’s subsequent motion, the

Court must also commit Mr. Masood to the custody of the Attorney General for a

psychiatric or psychological examination. 18 U.S.C. § 4242(a).

       The Court notes that, as indicated by both Mr. Masood and Dr. Watkins’ report,

Mr. Masood appears to be vulnerable to abuse by other inmates. Therefore, the Court

respectfully requests that Mr. Masood be transferred to a facility where he can receive

both care under § 4241(d) and an examination under § 4242(a), and that his transfer be

made as directly and expeditiously as possible.

       Accordingly, based on all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

   1. Defendant Muhammad Masood is presently not competent to proceed in this

       matter;

   2. Mr. Masood is committed to the custody of the Attorney General pursuant to:

                                             5
       CASE 0:20-cr-00076-PAM-TNL Doc. 46 Filed 04/20/21 Page 6 of 6




         a. 18 U.S.C. § 4241(d), for such reasonable amount of time, not to exceed

            four months, as is necessary to determine whether there is a substantial

            probability that in the foreseeable future he will attain the capacity to

            permit the proceedings to go forward;

         b. 18 U.S.C. § 4242, for a psychological examination and report under 18

            U.S.C. § 4247(b)–(c);

  3. The Attorney General shall designate the facility for Mr. Masood’s hospitalization,

     treatment, and examination;

  4. The Court will hold a hearing once the needed evaluations are complete to

     determine whether Mr. Masood’s mental condition has so improved as to permit

     the proceedings to go forward, and if not, whether there is a substantial probability

     that in the foreseeable future he will attain the capacity to proceed; and

  5. The time period from the original order for a competency evaluation through the

     final decision on Mr. Masood’s competency is excludable time under 18 U.S.C.

     § 3161(h)(1)(A).

     IT IS SO ORDERED.



Date: April 20, 2021                              s/ Katherine Menendez
                                                  Katherine Menendez
                                                  United States Magistrate Judge




                                            6
